Case 3:14-cr-02361-WQH      Document 50    Filed 02/13/15   PageID.220    Page 1 of 5



  1
  2
  3
  4
  5
  6
  7
  8                         UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                       CASE NO. 14cr2361 WQH
 12                           Plaintiff,               ORDER
           vs.
 13    KEVIN JOSEPH HEWITT (2),
 14                                 Defendant.
 15   HAYES, Judge:
 16         The matter before the Court is the motion to suppress statements (ECF No. 34)
 17   filed by the Defendant Kevin Joseph Hewitt.
 18                                   FACTS
 19         On June 30, 2014, United States Border Patrol Agent Matthew Bouchard was
 20   patrolling near the town of Jacumba, California, approximately twenty-five miles west
 21   of the Tecate, California, Port of Entry. Agent Bouchard was in an unmarked vehicle
 22   and wearing plainclothes. At approximately 9:00 p.m., Agent Bouchard reported that
 23   he had just observed “an attempted load, aliens loading into a vehicle, around Mile
 24   Marker 36 and a half-ish on Old Highway 80, and he [had] seen two – two bodies
 25   running into the bushes.” (ECF No. 43 at 6). Agent Bouchard reported that he would
 26   be going after the vehicle.
 27         Border Patrol Agent Forest Rowley Jr. was approximately one mile from Mile
 28   Marker 36 and a half when he received the call, and drove to the vicinity of Mile

                                                 -1-                             14CR2361 WQH
Case 3:14-cr-02361-WQH       Document 50     Filed 02/13/15   PageID.221     Page 2 of 5



  1   Marker 36 and a half in his marked Border Patrol Jeep. As Agent Rowley was pulling
  2   up to the reported mile marker, he observed an individual, later identified as Defendant
  3   Kevin Joseph Hewitt, “coming off from the bushes on the side of the road flagging
  4   [Agent Rowley] down with both arms.” (ECF No. 43 at 7). Agent Rowley turned on his
  5   overhead lights, pulled to the side of the road, and got out of his vehicle. Agent Rowley
  6   testified as follows at the evidentiary hearing:
  7         Q: [Government counsel] And what happened after you got out of your
            vehicle and approached him?
  8
            A: [Agent Rowley] After I got out of the vehicle, I walked over to the
  9         individual and identified myself, “United States Border Patrol,” you know,
            “What is going on? What is your name? What are you doing out here?”
 10
            Q: Okay. And what did he say when you asked him his name?
 11
            A: He told me his name was Joseph, I believe, and then he told me – I
 12         asked him what he was doing, you know, why he was out here, because it
            is a pretty remote area. I asked him why he was out here. He said that he
 13         had gotten in a fight with his girlfriend, and she dropped him off on the
            highway.
 14
            Q. Okay. You indicated he told you his name was Joseph. Did he give you
 15         any other names at that time?
 16         A: He did. He gave me – he gave me his name. I don’t remember exactly
            what he gave me, but it came back to his uncle.
 17
      (ECF No. 43 at 8). Agent Rowley then testified “[Defendant] also told me that he had
 18
      been riding in a SUV, he thought it was a Jeep, with four other guys that scared him, so
 19
      he had them stop and he got out. He also told me that he was walking to the gas
 20
      station.” (ECF No. 43 at 11).
 21
            Agent Rowley testified that “after I started questioning him and realiz[ed] that
 22
      [] he was giving me different stories, [] I said, [] ‘Turn around. Put your hands on your
 23
      neck. I am going to search you for weapons and have you sit on the side of the road.’”
 24
      (ECF No. 43 at 10). Agent Rowley testified that “[Defendant] was agitated. He was
 25
      kind of pacing back and forth. He was turning back and forth. And for both of our
 26
      safety so I don’t misunderstand his movements and he doesn’t get too close to me, I had
 27
      him sit on the side of the road.” (ECF No. 43 at 16-17). Agent Rowley asked Defendant
 28
      to sit on the side of the road with his legs crossed and his hands on his thighs.

                                                -2-                                 14CR2361 WQH
Case 3:14-cr-02361-WQH        Document 50        Filed 02/13/15   PageID.222   Page 3 of 5



  1   Defendant was not handcuffed.
  2         Agent Rowley testified that he continued to question Defendant “as to why he
  3   was there and what he was doing.” (ECF No. 43 at 12). At some point, other Border
  4   Patrol agents arrived on the scene. Agent Rowley directed the other agents to check for
  5   evidence of people walking from the bushes near the area where Agent Bouchard had
  6   witnessed the load. The backup agents found a foot sign in the soft sand between the
  7   bushes and the road. The agents radioed the description to Agent Rowley, who looked
  8   at Defendant’s foot sign and concluded that the footprints were a match. Agent Rowley
  9   handcuffed Defendant and put Defendant into his Border Patrol Jeep. Agent Rowley
 10   went to the scene where the other agents had found the foot sign and confirmed that the
 11   foot sign matched Defendant’s footprints.
 12         On August 20, 2014, an indictment was filed charging the Defendant with three
 13   counts of transportation of illegal aliens and aiding and abetting in violation of 8 U.S.C.
 14   § 1324(a)(1)(A)(ii) and (v)(II) (ECF No. 1).
 15                           CONTENTIONS OF THE PARTIES
 16        Defendant moves the Court to suppress any statements made after Agent Rowley
 17   asked him to sit on the side of the road. Defendant contends that any statements made
 18   in response to questions while seated on the side of the road must be suppressed on the
 19   grounds that he was not informed of his Miranda1 rights. Defendant further asserts that
 20   the Government cannot satisfy its burden to show these statements were voluntary.
 21         The Government contends that Miranda warnings were not required because the
 22   agent detained Defendant based upon reasonable suspicion as part of a non-custodial
 23   Terry2 stop. The Government asserts that the questions asked were limited to the
 24   suspicious circumstances that justified the stop. The Government further contends that
 25   Defendant’s statements were voluntary and not a product of police coercion.
 26                                 RULING OF THE COURT
 27
            1
             Miranda v. Arizona, 384 U.S. 436 (1966).
 28
            2
             Terry v. Ohio, 392 U.S. 1 (1968).

                                                    -3-                               14CR2361 WQH
Case 3:14-cr-02361-WQH       Document 50      Filed 02/13/15    PageID.223     Page 4 of 5



  1         A Terry stop is a brief investigatory stop which is an exception to the probable
  2   cause requirement of the Fourth Amendment. “The Fourth Amendment does not
  3   proscribe all contact between the police and citizens, but is designed to prevent arbitrary
  4   and oppressive interference by enforcement officials with the privacy and personal
  5   security of individuals.” INS v. Delgado, 466 U.S. 210, 215 (1984). “Beginning with
  6   Terry v. Ohio,[], the Court has recognized that a law enforcement officer’s reasonable
  7   suspicion that a person may be involved in criminal activity permits the officer to stop
  8   the person for a brief time and take additional steps to investigate further. (citation
  9   omitted). To ensure that the resulting seizure is constitutionally reasonable, a Terry stop
 10   must be limited. The officer’s actions must be justified at its inception, and ...
 11   reasonably related in scope to the circumstances which justified the interference in the
 12   first place.” Hiibel v. Sixth Judicial Dist. Court, 542 U.S. 177, 185 (2004). “An ‘officer
 13   may question [individuals reasonably detained near the border] about their citizenship
 14   and immigration status, and he may ask them to explain suspicious circumstances, but
 15   any further detention or search must be based on consent or probable cause.’” United
 16   States v. Cervantes-Flores, 421 F.3d 825, 830 (9th Cir. 2005) (alteration in original)
 17   (quoting United States v. Brignoni-Ponce, 422 U.S. 873, 881-82).
 18         Warnings under Miranda v. Arizona, 384 U.S. 436 (1966) are required prior to
 19   “custodial interrogation.” Id. at 444. “By custodial interrogation, we mean questioning
 20   initiated by law enforcement officers after a person has been taken into custody or
 21   otherwise deprived of his freedom of action in any significant way.” Id. “[T]he
 22   temporary and relatively nonthreatening detention involved in a ... Terry stop does not
 23   constitute Miranda custody.” Maryland v. Shatzer, 559 U.S. 98, 113 (2010) (citation
 24   omitted).
 25         In this case, Defendant initiated the interaction with Agent Rowley by waving the
 26   agent down. This interaction was voluntary and Agent Rowley was entitled to ask
 27   Defendant “What is going on? What is your name? What are you doing out here?” (ECF
 28   No. 43 at 8). Defendant does not move to suppress statements made prior to Defendant

                                                 -4-                                  14CR2361 WQH
Case 3:14-cr-02361-WQH       Document 50    Filed 02/13/15   PageID.224       Page 5 of 5



  1   sitting on the side of the road.
  2         The government has offered no evidence in this record of any statements by
  3   Defendant made after Defendant was seated on the side of the road. Any statements
  4   made to Agent Rowley after Defendant was seated on the side of the road may not be
  5   presented to the jury without further order of the Court.
  6                                      CONCLUSION
  7         IT IS HEREBY ORDERED that the motion to suppress statements (ECF No. 34)
  8   after Defendant was seated on the side of the road is granted.
  9   DATED: February 13, 2015
 10
                                               WILLIAM Q. HAYES
 11                                            United States District Judge
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28


                                               -5-                                  14CR2361 WQH
